













Opinion issued March 17, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-01161-CV
____________

CARA LOUISE MOODY, INDIVIDUALLY, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF MONROE JACKSON MOODY,
III, DECEASED, AND AS NEXT FRIEND OF HER MINOR CHILD,
MONROE JACKSON MOODY, IV, Appellant

V.

MOMENTUM MOTOR CARS, LTD., Appellee




On Appeal from the 80th District Court
Harris County, Texas
Trial Court Cause No. 2003-11972




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The partieshave filed an agreed motion to dismiss the appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Bland.


